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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


LAS AMERICAS IMMIGRANT ADVOCACY           )
CENTER, et al. ,                          )
                                          )
                      Plaintiffs,         ) No . 1:24-cv-01702
v.                                        )
                                          )
U. S. DEPARTMENT OF HOMELAND SECURITY, et )
al. ,                                     )
                                          )
                      Defendants.         )


        PLAINTIFFS’ RESPONSE TO ORDER TO PROPOSE REDACTIONS


      On November 22, 2024, the Court ordered that by December 24, 2024, Plaintiffs propose

redactions, if necessary, to the Court’s Memorandum Opinion (ECF No. 60). Plaintiffs have

reviewed the Memorandum Opinion and determined that no redactions are necessary.
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Dated: December 17, 2024                        Respectfully submitted,


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